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                       IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                WESTERN DIVISION

 DAVID C. SANFORD,                           )
                                             )
       Plaintiff,                            )                5:21-cv-05069-KES
                                             )
               v.
                                             )
 SILVERSCRIPT INSURANCE                      )       SIVLERSCRIPT’S CORPORATE
 COMPANY, a Tennessee corporation,           )         DISCLOSURE STATEMENT
                                             )
       Defendant.                            )
                                             )



      This Corporate Disclosure Statement is filed on behalf of Defendant SilverScript
Insurance Company (“SilverScript”), in compliance with the provisions of:
       X      Rule 7.1, Federal Rules of Civil Procedure, a nongovernmental corporate
              party to an action in a district court must file a statement that identifies any
              parent corporation and any publically held corporation that owns 10% of
              more of its stock or states that there is no such corporation.
              Rule 12.4(a)(1), Federal Rule of Criminal Procedure, any nongovernmental
              corporate party to a proceeding in district court must file a statement that
              identifies any parent corporation and any publically held corporation that
              owns 10% or more of its stock or states that there is no such corporation.
              Rule 12.4(a)(2), Federal Rule of Criminal Procedure, if any organizational
              victim of alleged criminal activity is a corporation the government must file
              a statement identifying the victim and the statement must also disclose the
              information required by Rule 12.4(a)(1).
      The filing party hereby declares as follows:
              No such corporation.

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      X      Party is a parent, subsidiary or other affiliate of a publically owned
             corporation as listed below.
           SilverScript is wholly owned by Part D Holding Company LLC (DE),
             which is wholly owned by Caremark RX, LLC (DE), which is wholly
             owned by CVS Pharmacy, Inc. (RI), which is wholly owned by CVS
             Health Corporation (DE). CVS Health Corporation is a publicly-traded
             company. Based on filings with the Securities and Exchange Commission,
             we are not aware of any publicly held company that owns 10% or more of
             the outstanding common stock of CVS Health.
             Publicly held corporation, not a party to the case, with a financial interest in
             the outcome.
             Other
      A supplemental disclosure statement will be filed upon any change in the
information provided herein.

      Dated this 18th day of October, 2021.

                                                  Respectfully submitted,

                                                  /s/ Christine M. Kroupa
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                                                  Insurance Company




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the above and foregoing was
electronically filed with the Clerk of the United States District Court using the CM/ECF
system which will send notification to all counsel of record, this 18th day of October, 2021.

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